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 7                                    UNITED STATES DISTRICT COURT
 8                          FOR THE EASTERN DISTRICT OF CALIFORNIA
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10    JASON GRAYSON,                                     Case No. 2:24-cv-01488-JDP (PC)
11                       Plaintiff,                      ORDER
12              v.                                       DIRECTING PLAINTIFF TO FILE EITHER
                                                         HIS APPLICATION TO PROCEED IN
13    JEFF LYNCH, et al.,                                FORMA PAUPERIS OR PAY THE FILING
                                                         FEE
14                       Defendants.
15

16          Plaintiff, a state prisoner proceeding pro se, has filed a civil rights action pursuant to 42

17   U.S.C. § 1983. Plaintiff has not, however, filed an in forma pauperis affidavit or paid the

18   required filing fee of $350.00 plus the $55.00 administrative fee.1 See 28 U.S.C. §§ 1914(a),

19   1915(a). Plaintiff will be provided the opportunity either to submit the appropriate affidavit in

20   support of a request to proceed in forma pauperis or to submit the required fees totaling $405.00.

21          In accordance with the above, IT IS HEREBY ORDERED that:

22          1. Plaintiff shall submit, within thirty days from the date of this order, an affidavit in

23   support of his request to proceed in forma pauperis on the form provided by the Clerk of Court,

24   or the required fees in the amount of $405.00; plaintiff’s failure to comply with this order will

25   result in a recommendation that this action be dismissed; and

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            1
27              If leave to file in forma pauperis is granted, plaintiff will still be required to pay the
     filing fee but will be allowed to pay it in installments. Litigants proceeding in forma pauperis are
28   not required to pay the $55.00 administrative fee.
                                                          1
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 1            2. The Clerk of Court is directed to send plaintiff a new Application to Proceed In Forma
 2   Pauperis By a Prisoner.
 3   IT IS SO ORDERED.
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 5   Dated:      June 6, 2024
                                                       JEREMY D. PETERSON
 6                                                     UNITED STATES MAGISTRATE JUDGE
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